                  IN THE COURT OF APPEALS OF NORTH CAROLINA

                                      2021-NCCOA-354

                                       No. COA20-336

                                     Filed 20 July 2021

     Forsyth County, No. 02 CRS 60325, 02 CRS 60369

     STATE OF NORTH CAROLINA

                 v.

     JAAMALL DENARIS OGLESBY, Defendant.


           Appeal by Defendant from an order entered on 4 September 2019 by Judge

     William A. Wood in Forsyth County Superior Court. Heard in the Court of Appeals

     13 April 2021.


           Attorney General Joshua H. Stein, by Assistant Attorney General Robert C.
           Ennis, for the State.

           Appellate Defender Glenn Gerding, by Assistant Appellate Defendant Jillian C.
           Katz, for the Defendant.


           JACKSON, Judge.


¶1         Jaamall Denaris Oglesby (“Defendant”) appeals from the trial court’s

     resentencing order, which was entered following a post-conviction motion for

     appropriate relief. The issues presented by this resentencing appeal are (1) whether

     the trial court erred in only resentencing Defendant on some (but not all) of his

     convictions; (2) whether Defendant received ineffective assistance of counsel at his

     resentencing hearing; and (3) whether the trial court violated the Eighth Amendment
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     by resentencing Defendant to a de facto life without parole sentence, given that

     Defendant was a juvenile at the time of the offense. We conclude that the trial court

     committed no error.

                       I.   Factual and Procedural Background

¶2         On 7 September 2002, when Defendant was 16 years old, Defendant and

     several accomplices robbed a convenience store at gunpoint.         The group then

     proceeded to rob a different store at gunpoint the following evening, 8 September

     2002. On 10 September 2002, the group kidnapped a custodian, Scott Jester, from a

     restaurant in Winston-Salem, North Carolina. They drove down the Interstate with

     Jester for several miles, until Defendant instructed the driver to stop at an exit,

     where Defendant pushed Jester out of the car, ordered him to lay flat on the ground,

     and shot him three times in the back of the head.

¶3          On 7 July 2003, Defendant was indicted by a Forsyth County Grand Jury for

     first-degree murder, first-degree kidnapping, and attempted armed robbery, in

     connection with the murder of Mr. Jester that occurred on 10 September 2002. On 3

     November 2003, Defendant was also indicted for two counts of robbery with a

     dangerous weapon in connection with the two convenience store robberies that

     occurred on 7 and 8 September 2002.

¶4         On 24 May 2004, Defendant pleaded guilty to the two armed robbery charges,

     but the trial court postponed sentencing on those charges until Defendant could be
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     tried on the remaining three charges. Also on 24 May 2004, the trial court heard and

     ultimately denied Defendant’s motion to suppress certain incriminating statements

     he had made to law enforcement officers during an interrogation.

¶5         Defendant’s trial was held in May 2004 in Forsyth County Superior Court,

     Judge Catherine Eagles presiding. On 28 May 2004, the jury found Defendant guilty

     of first-degree murder (under the felony murder rule), first-degree kidnapping, and

     attempted robbery. The trial court sentenced Defendant to the following consecutive

     terms: (1) 95 to 123 months for one armed robbery charge; (2) 95 to 123 months for

     the second armed robbery charge; (3) life imprisonment without parole (“LWOP”) for

     first-degree murder; (4) 29 to 44 months for kidnapping; and (5) 77 to 102 months for

     attempted armed robbery. Defendant appealed.

¶6         On 6 December 2005, this Court filed an opinion remanding the case in part

     for resentencing on the two armed robbery convictions (based on a Blakely error in

     failing to submit the aggravating factors to the jury), and arresting judgment on

     either the kidnapping or armed robbery conviction (based on a double jeopardy

     violation in convicting Defendant of both the predicate felony and felony murder). See

     State v. Oglesby, 174 N.C. App. 658, 622 S.E.2d 152 (2005), aff’d in part, vacated in

     part, 361 N.C. 550, 648 S.E.2d 819 (2007); Blakely v. Washington, 542 U.S. 296 (2004)

     (holding that any aggravating factor which increases the penalty for a crime must be

     submitted to the jury and proved beyond a reasonable doubt).
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¶7         On 24 August 2007, our Supreme Court vacated in part this Court’s decision

     and remanded for a resentencing on the armed robberies, after concluding that this

     Court applied an erroneous standard of review to evaluate the Blakely claim. See

     State v. Oglesby, 361 N.C. 550, 648 S.E.2d 819 (2007). On 6 November 2007, this

     Court duly reconsidered Defendant’s Blakely claims under the harmless error

     standard, and ultimately upheld the armed robbery sentences after determining that

     the failure to submit the aggravating factors to the jury was harmless error. See State

     v. Oglesby, 186 N.C. App. 681, 652 S.E.2d 71, 2007 WL 3256666 (unpublished), disc.

     review denied, 362 N.C. 478, 667 S.E.2d 234 (2008). In compliance with this Court’s

     mandate, on remand the trial court consequently arrested judgment on Defendant’s

     attempted robbery conviction (based on the double jeopardy violation).

¶8         On 9 April 2013, Defendant filed a motion for appropriate relief (“MAR”) in

     Forsyth County Superior Court based on the newly-issued United States Supreme

     Court decision in Miller v. Alabama, 567 U.S. 460 (2012), which held that a juvenile

     offender may not be sentenced to mandatory LWOP. Defendant’s MAR argued that,

     under Miller, his LWOP sentence violated the Eighth Amendment’s prohibition on

     cruel and unusual punishment because he was only 16 at the time of the offense. The

     State responded on 10 April 2015 to request a one-year stay, asserting that our courts

     had not yet determined whether Miller could apply retroactively in cases such as

     Defendant’s. The trial court granted the requested one-year stay on 5 May 2015.
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       Defendant filed an amended MAR on 31 August 2016, asserting that it had been

       declared in Montgomery v. Louisiana, 577 U.S. 190 (2016), that Miller applied

       retroactively. The State responded on 7 November 2016, agreeing that Miller applied

       retroactively and that Defendant was entitled to a resentencing hearing.           On

       17 May 2017, Judge Richard S. Gottlieb entered an order allowing Defendant’s

       amended MAR, and awarding him a resentencing hearing for the limited purpose of:

       (1) resentencing Defendant’s LWOP murder sentence (in accord with Miller); and (2)

       arresting judgment on either the kidnapping or attempted armed robbery sentence

       (in accord with this Court’s earlier remand).

¶9           On 26 August 2019, a resentencing hearing—the hearing at issue in this

       case—was held in Forsyth County Superior Court, Judge William A. Wood presiding.

       The trial court was tasked with resentencing Defendant on his murder, kidnapping,

       and attempted armed robbery convictions, in light of Miller and N.C. Gen. Stat.

       § 15A-1340.19B (the statute which governs sentencing of juvenile offenders convicted

       of murder).

¶ 10         The parties agreed that, because Defendant’s murder conviction was based

       solely on the felony murder rule, the trial court was statutorily obligated to sentence

       Defendant to life (with the possibility of parole after 25 years) for the murder

       conviction. See N.C. Gen. Stat. § 15A-1340.19B(a) (2019) (providing that when “the

       sole basis for” a juvenile defendant’s murder conviction “was the felony murder rule,
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       then the court shall sentence the defendant to life imprisonment with parole”); id.

       § 15A-1340.19A (defining “life imprisonment with parole” to mean that “the

       defendant shall serve a minimum of 25 years imprisonment prior to becoming eligible

       for parole”).

¶ 11          In contrast, the main point of contention during the resentencing hearing was

       whether Defendant’s murder sentence should run concurrently with his kidnapping

       sentence—as opposed to keeping the two sentences consecutive. Defendant’s trial

       counsel argued that the kidnapping sentence should run concurrently with the

       murder sentence “based upon the [mitigating] factors that Miller put forth for a judge

       to consider[.]”1 Namely, defense counsel presented evidence that Defendant was 16

       years old at the time of the crime; was interrogated by the police for 26 hours (without

       a parent or guardian present) before confessing; had an IQ of 81 (in the borderline-



              1 These mitigating factors include:


                       (1) Age at the time of the offense.
                       (2) Immaturity.
                       (3) Ability to appreciate the risks and consequences of the
                           conduct.
                       (4) Intellectual capacity.
                       (5) Prior record.
                       (6) Mental health.
                       (7) Familial or peer pressure exerted upon the defendant.
                       (8) Likelihood that the defendant would benefit from
                           rehabilitation in confinement.
                       (9) Any other mitigating factor or circumstance.

       N.C. Gen. Stat. § 15A-1340.19B(c) (2019).
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       impairment range); was evaluated for intellectual capacity to proceed prior to his

       trial; and was diagnosed with bipolar disorder but was not receiving medication or

       treatment at the time of trial. Defense counsel also stated that Defendant’s LWOP

       sentence made him ineligible to participate in prison educational programs, and that

       Defendant was engaging in self-improvement in prison by developing a program to

       assist at-risk youth.

¶ 12         The trial court then requested clarification on whether the statute permitted

       this type of concurrent sentencing, asking counsel whether there was “any authority

       under § 15A-1340.19B . . . that permits the Court to modify the order in which the

       sentence is run, as opposed to modifying the 25 to life?” Defense counsel responded

       that concurrent sentences were permitted under Miller because the kidnapping arose

       from the same series of transactions that resulted in the felony murder.

¶ 13         In response, the State argued that the kidnapping and murder sentences

       should remain consecutive, due to the serious nature of the crime and due to

       Defendant’s numerous, repeated infractions while in prison. These prison infractions

       ran from 2008 through February 2019, and included offenses such as “weapon

       possession,” “involvement with a gang,” “assault on a staff with a weapon,”

       “involvement with a gang,” and “active rioter.” The State noted that some infractions

       had even occurred during the pendency of Defendant’s MAR, asserting that this

       demonstrated that Defendant had the opportunity to reform but chose not to, and
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       that Defendant was “not someone who should get the benefit of these sentences

       running together.”

¶ 14         With regard to the two armed robbery convictions, defense counsel described

       these convictions as “two other consecutive sentences from matters that are not before

       this Court[,]” further stating that the murder and kidnapping convictions were “the

       only two sentences that are at issue before the Court today.” The trial court sought

       to clarify which sentences were before it:

                    THE COURT: Just to make sure I understand. All right.
                    First, there are two consecutive armed robbery sentences
                    that the Defendant has already served.

                    DEFENSE COUNSEL: It depends how DOC actually
                    would calculate that. However, [the armed robbery
                    sentences] are not at issue here because they are not
                    related to this particular conduct. They were sentenced at
                    the same time as this was, but it was not part of that trial.

                    THE COURT: All right. So there are two sentences that
                    he has served or he will have to serve.

                    DEFENSE COUNSEL: There are. The DOC website
                    shows that he would have been released in February of
                    2012 in one of them. So it does show that those would be
                    the first sentences he would be serving. This is from the
                    DOC website and from combined records as to how it was
                    imposed. [S]o the two armed robbery sentences were
                    imposed by DOC prior to the 25 to life.

¶ 15         The trial court requested further explanation on some matters and clarified

       the following: (1) judgment had already been arrested on Defendant’s attempted

       armed robbery conviction; (2) the unarrested judgment on Defendant’s kidnapping
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       conviction imposed a minimum of 29 months, due to having been sentenced at a lower

       class; (3) the two armed robbery sentences remained undisturbed after previous

       appellate review; and (4) Defendant had fully served his first armed robbery sentence

       and had either almost served the second armed robbery sentence or had just started

       to serve his murder sentence.

¶ 16         After hearing all arguments and evidence, the trial court concluded that

       Defendant should be resentenced in accord with Miller on the murder charge, but

       chose not to modify the consecutive nature of the kidnapping charge. In a written

       order entered on 4 September 2019, the trial court resentenced Defendant as follows:

                    (1) The Defendant is resentenced on the First Degree
                        Murder charge . . . to a sentence of life with the
                        possibility of parole after 25 years.

                    (2) Based upon the information presented at the
                        resentencing hearing, the Court in its discretion, does
                        not modify the consecutive nature of the First Degree
                        Kidnapping charge . . . and the 29 to 44 month sentence
                        previously imposed for that crime will continue to run
                        consecutively.

                    (3) The Court specifically finds that consecutive sentences
                        are warranted by the facts presented at the
                        resentencing hearing and consecutive sentences in this
                        case are not violative of the Eight Amendment to the
                        United States Constitution.

                    (4) Based upon the felony murder conviction the Court will
                        arrest judgment in the Attempted Robbery with a
                        Firearm [charge].

¶ 17         The trial court’s order made no reference to Defendant’s two armed robbery
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       convictions.   Defendant gave oral notice of appeal at the conclusion of the

       resentencing hearing.

                                          II.   Analysis

¶ 18         On appeal, Defendant raises three primary arguments, contending that: (1)

       the trial court erred by only resentencing him on the murder and kidnapping

       convictions (while ignoring the two armed robbery convictions); (2) his attorney

       provided ineffective assistance of counsel at his resentencing hearing; and (3) the trial

       court violated the Eighth Amendment by resentencing him to over 43 years in prison.

       We discern no error on issues one and two, and decline to rule on issue three.

       Accordingly, we affirm the trial court’s ruling on issues one and two and dismiss

       without prejudice Defendant’s Eighth Amendment claim.

       A. Structured Resentencing

¶ 19         Defendant first argues that the trial court erred by only considering the

       murder and kidnapping convictions during his resentencing, contending that the trial

       court should have also considered his two armed robbery convictions. He also argues

       that the trial court erred by maintaining his sentences as consecutive instead of

       concurrent. We disagree, and conclude that that trial court committed no error

       during resentencing.

¶ 20         To begin with, it may be useful to provide some background regarding the

       applicable juvenile sentencing scheme in North Carolina. Prior to Miller, a juvenile
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       defendant who committed first-degree murder in North Carolina would receive

       mandatory LWOP. See N.C. Gen. Stat. § 14-17 (2007). In 2012, the United States

       Supreme Court held in Miller that “the Eighth Amendment forbids a sentencing

       scheme that mandates life in prison without possibility of parole for juvenile

       offenders,” and that a sentencing judge “must have the opportunity to consider

       mitigating circumstances before imposing the harshest possible penalty for

       juveniles.” 567 U.S. at 479-89.

¶ 21          In order to comply with Miller, in late 2012 our General Assembly enacted

       N.C. Gen. Stat. § 15A-1340.19,2 which set out the new sentencing procedures

       applicable to a defendant “who is convicted of first degree murder, and who was under

       the age of 18 at the time of the offense.” N.C. Gen. Stat. § 15A-1340.19A (2019). The

       statute provides that if “the sole basis for” the juvenile defendant’s conviction “was

       the felony murder rule, then the court shall sentence the defendant to life

       imprisonment with parole”—meaning that “the defendant shall serve a minimum of

       25 years imprisonment prior to becoming eligible for parole.” Id. § 15A-1340.19A,

       .19B (emphasis added). The statute also provides a list of mitigating factors (as

       described above, in footnote one) that a court may consider when sentencing a

       juvenile offender. See id. § 15A-1340.19B(c).



              2 Our Supreme Court has held that this statute fully complies with the mandate from

       Miller. See State v. James, 371 N.C. 77, 89, 813 S.E.2d 195, 204 (2018).
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¶ 22         However, the statute provides no guidance regarding whether or not a juvenile

       offender’s murder sentence should be run concurrently with (or consecutive to) any

       other sentences that the juvenile may be subject to. Due to this omission in § 15A-

       1340.19, Defendant looks elsewhere in our General Statutes for guidance on the

       proper ordering of his sentences. Specifically, Defendant relies on a portion of the

       Criminal Procedure Act which provides that

                     [w]hen multiple sentences of imprisonment are imposed on
                     a person at the same time or when a term of imprisonment
                     is imposed on a person who is already subject to an
                     undischarged term of imprisonment . . . the sentences may
                     run either concurrently or consecutively, as determined by
                     the court. If not specified or not required by statute to run
                     consecutively, sentences shall run concurrently.

       N.C. Gen. Stat. § 15A-1354(a) (2019).

¶ 23         Based upon the language of § 15A-1354(a), Defendant contends that the trial

       court possessed the authority to resentence him on all of his convictions, and to

       impose concurrent terms in all sentences. Defendant argues that the trial court

       misapprehended the scope of its sentencing authority, asserting that the transcript

       demonstrates that the trial court believed it was only permitted consider his murder

       and kidnapping convictions. Due to this alleged misapprehension of law by the trial

       court, Defendant claims that the trial court abused its discretion during his

       resentencing and that he is entitled to a new hearing.         We find this argument

       unavailing.
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¶ 24          Most prominently, we believe Defendant’s argument conflates two distinct

       issues: (1) whether the trial court possessed the authority to run his sentences

       concurrently as opposed to consecutively; and (2) whether the trial court possessed

       the authority to consider the two armed robbery convictions.           We answer each

       question in turn.

          1. Concurrent vs. Consecutive Sentences

¶ 25          First, we agree with Defendant that the trial court possessed authority to run

       his murder and kidnapping sentences either concurrently or consecutively, but

       discern no abuse of discretion in the trial court’s decision to keep his sentences

       consecutive. Defendant is correct that § 15A-1354(a) grants a trial court the authority

       to choose between consecutive or concurrent sentences when “multiple sentences of

       imprisonment are imposed on a person at the same time.” N.C. Gen. Stat. § 15A-

       1354(a) (2019).      Here, Defendant was sentenced to all of his sentences of

       imprisonment “at the same time,” during his original sentencing proceeding on 28

       May 2004.     Thus, based on the language of § 15A-1354(a), the trial court was

       authorized to impose either concurrent or consecutive sentences for all of the

       convictions which were before the Court for resentencing.3

¶ 26          However, the trial court here chose to keep Defendant’s sentences consecutive,



              3 As explained in the following section, in this case Defendant’s two armed robbery

       sentences were not before the trial court for resentencing.
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       and we are unable to say that this choice was an abuse of the court’s discretion. As

       we have previously explained, “N.C. Gen. Stat. § 15A-1354 vests the trial court with

       the discretion to elect between concurrent or consecutive sentences for a defendant

       faced with multiple sentences of imprisonment,” and we review a trial court’s

       sentencing decision in this context for “abuse of discretion.” State v. Hill, 262 N.C.

       App. 113, 120-21, 821 S.E.2d 631, 636-37 (2018). See also State v. Duffie, 241 N.C.

       App. 88, 96-97, 772 S.E.2d 100, 107 (2015) (“[T]he trial court may exercise its

       discretion in determining whether to impose concurrent or consecutive sentences . . .

       [under] N.C. Gen. Stat. § 15A-1354(a).”). Moreover, “[w]hen the trial court gives no

       reason for a ruling that must be discretionary, we presume on appeal that the court

       exercised its discretion.” State v. Starr, 365 N.C. 314, 318, 718 S.E.2d 362, 365 (2011).

¶ 27         The record in this case demonstrates that the trial court knew it possessed

       discretion to sentence Defendant consecutively and exercised that discretion

       reasonably. During the resentencing hearing, defense counsel requested that the

       murder and kidnapping sentences run concurrently due to Defendant’s young age,

       mental health issues, and desire to participate in prison educational programs, while

       the State argued that the sentences should run consecutively due to the nature of the

       crime and Defendant’s numerous infractions while in prison. The trial court then

       requested clarification as to whether § 15A-1340.19B provided authority to “modify

       the order in which the sentence is run, as opposed to modifying the 25 to life?”
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¶ 28         After hearing all arguments and “considering all these matters,” the trial

       court, in its discretion, denied Defendant’s request to run the sentences consecutively.

       The trial court also memorialized this ruling in a written order, which stated that

       “[b]ased upon the information presented at the resentencing hearing, the Court in its

       discretion, does not modify the consecutive nature of the First Degree Kidnapping

       charge . . . . The Court specifically finds that consecutive sentences are warranted by

       the facts presented at the resentencing hearing.” (Emphasis added.)

¶ 29         This language clearly indicates that the trial court (1) knew it possessed

       discretion to reorder Defendant’s sentences; and (2) duly exercised that discretion by

       considering all facts presented at the resentencing hearing in reaching its decision.

       The trial court was under no obligation to provide a lengthy explanation for its

       resentencing decision. We accordingly hold that the trial court did not abuse its

       discretion in resentencing Defendant without modifying the consecutive nature of the

       sentences.

          2. Armed Robbery Sentences

¶ 30         Next, we must consider the distinct question of whether the trial court should

       have also resentenced Defendant on the two armed robbery convictions. We conclude

       that Defendant has not preserved this argument for appellate review, and that in any

       event, the two armed robbery convictions were not before the trial court for

       resentencing.
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¶ 31         First, Defendant has failed to preserve this issue for appellate review, in two

       distinct ways. Most notably, Defendant’s oral notice of appeal at the close of his

       resentencing hearing did not vest this Court with jurisdiction over the undisturbed

       armed robbery judgments, which were originally entered during Defendant’s first

       sentencing in 2004, and remained undisturbed throughout the subsequent appeals.

       In the 2017 order which granted Defendant’s MAR, Judge Gottlieb ordered a limited-

       scope resentencing, only for purposes of (1) resentencing Defendant on his LWOP

       murder sentence (in accord with Miller); and (2) arresting judgment on either the

       kidnapping or attempted armed robbery sentence (in accord with this Court’s earlier

       remand that was ordered in our 2005 opinion). Thus, there existed no court order or

       other authority which would have allowed Defendant a de novo resentencing hearing

       on his armed robbery convictions.

¶ 32         Second, Defendant has failed to preserve this issue for our review by failing to

       raise it before the trial court. Our Appellate Rules provide that

                    [i]n order to preserve an issue for appellate review, a party
                    must have presented to the trial court a timely request,
                    objection, or motion, stating the specific grounds for the
                    ruling the party desired the court to make . . . [i]t is also
                    necessary for the complaining party to obtain a ruling upon
                    the party’s request, objection, or motion.

       N.C. R. App. P. Rule 10(a)(1).

¶ 33         In interpreting this Rule, our courts have long held that “where a theory
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       argued on appeal was not raised before the trial court, the law does not permit parties

       to swap horses between courts in order to get a better mount in the appellate courts.”

       State v. Holliman, 155 N.C. App. 120, 123, 573 S.E.2d 682, 685 (2002) (internal marks

       and citations omitted). Accordingly, where a defendant “impermissibly presents a

       different theory on appeal than argued at trial, [the] assignment of error [is] not

       properly preserved” and is “waived by [the] defendant.” Id. at 124, 573 S.E.2d at 686.

¶ 34         Here, Defendant has failed to preserve his argument regarding the two armed

       robbery sentences because, during his resentencing hearing, he did not argue that

       the trial court should consider his two armed robbery convictions alongside the

       murder and kidnapping convictions—in fact, he argued the exact opposite. During

       the hearing, defense counsel stated on multiple occasions that the kidnapping and

       murder convictions were “the only two sentences that are at issue before the Court

       today.” Defense counsel stated her belief that the two armed robbery sentences were

       “not at issue here because they are not related to this particular conduct,” in that the

       armed robberies occurred several days prior to the kidnapping and murder. The

       prosecution agreed that the armed robbery sentences were not before the court.

¶ 35         Defendant cannot argue before the trial court that these convictions should not

       be considered, and then argue on appeal that they must be considered—this is an

       impermissible attempt to swap horses on appeal. Thus, this assignment of error has

       not been properly preserved and has been waived by Defendant.
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¶ 36         However, we nevertheless choose to examine the merits of Defendant’s claim,

       in our discretion, because the issues surrounding the two armed robbery sentences

       are also relevant to Defendant’s ineffective assistance of counsel claim (which is

       analyzed in the following section). We ultimately conclude that the trial court acted

       properly in not considering the two armed robbery sentences, because, as Defendant’s

       trial counsel correctly noted, those sentences stemmed from a separate transaction

       that was not before the court. Our state’s Miller jurisprudence shows that when a

       juvenile offender is awarded a Miller resentencing hearing, the juvenile is only

       entitled to be resentenced on his murder conviction (i.e., the conviction for which he

       received mandatory LWOP), and is not entitled to be resentenced for unrelated

       convictions which arose out of a different transaction.

¶ 37         Following the United States Supreme Court’s decision in Miller, and our

       General Assembly’s enactment of N.C Gen. Stat. § 15A-1340.19, a juvenile offender

       who previously received a mandatory LWOP sentence “is entitled to be resentenced

       in the case in which he was convicted of first-degree murder pursuant to [N.C. Gen.

       Stat. § 15A-1340.19].” State v. Perry, 369 N.C. 390, 393, 794 S.E.2d 280, 281-82
       (2016). For example, in Perry, the defendant was convicted of armed robbery and

       first-degree murder for an incident that occurred when he was seventeen years old.

       Id. at 391, 794 S.E.2d at 280. He was originally sentenced to 51 to 71 months for the

       robbery conviction, and a consecutive term of mandatory LWOP for the murder
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       conviction. Id. at 391, 794 S.E.2d at 280-81.

¶ 38         Following the decision in Miller, the defendant filed an MAR requesting that

       his LWOP sentence be vacated. Id. at 391, 794 S.E.2d at 281. On review, our

       Supreme Court agreed that the defendant was entitled to a retroactive Miller

       resentencing hearing “in the case in which he was convicted of first-degree murder.”

       Id. at 393, 794 S.E.2d at 281. The Court accordingly remanded to the trial court “for

       further proceedings not inconsistent with this opinion, including the imposition of a

       new sentence in the case in which defendant was convicted of first-degree murder.”

       Id. at 393, 794 S.E.2d at 282.    Notably, the Court did not remand the robbery

       conviction for resentencing—despite the fact that both convictions were originally

       imposed at the same time.

¶ 39         Likewise, in State v. Lovette, the defendant was convicted of kidnapping, armed

       robbery, and first-degree murder for an incident that occurred when he was seventeen

       years old. State v. Lovette, 225 N.C. App. 456, 460, 737 S.E.2d 432, 436 (2013). He

       was originally sentenced to LWOP for the murder conviction, as well as consecutive

       terms of 100 to 129 months for the kidnapping conviction and 77 to 102 months for

       the robbery conviction. Id. Following the decision in Miller, the defendant filed an

       MAR requesting that his LWOP sentence be vacated. Id. On review, this Court held

       that the defendant was entitled to be resentenced under Miller and N.C. Gen. Stat.

       § 15A-1340.19. Id. at 470-71, 737 S.E.2d at 441-42. We accordingly vacated and
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       remanded “Defendant’s sentence of life imprisonment without parole . . . for

       resentencing as provided in the Act.” Id. at 471, 737 S.E.2d at 442. Just as in Perry,

       we did not remand the defendant’s robbery and kidnapping convictions for

       resentencing—despite the fact that all three convictions were originally imposed at

       the same time.

¶ 40         Perry and Lovette demonstrate that a juvenile offender in North Carolina who

       is awarded a resentencing hearing in accord with Miller and § 15A-1340.19 is only

       statutorily entitled to be resentenced for his murder conviction (i.e., the conviction for

       which he was sentenced to LWOP)—and is not automatically entitled to be

       resentenced for any other convictions which may have been imposed at the same time

       as his murder conviction.     Accordingly, in the present case Defendant was only

       statutorily entitled to be resentenced for his murder conviction, and the trial court

       committed no error by failing to consider his two armed robbery convictions (which

       arose out of an entirely different transaction).

¶ 41         In sum, we hold that:       (1) the trial court did not abuse its discretion by

       resentencing Defendant without modifying the consecutive nature of the kidnapping

       and murder sentences; and (2) the trial court was under no obligation to resentence

       Defendant on his two unrelated armed robbery convictions.

       B. Ineffective Assistance of Counsel

¶ 42         Next, Defendant argues that he received ineffective assistance of counsel at his
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       resentencing hearing. Defendant contends that his counsel erred by informing the

       trial court that the armed robbery convictions were “unrelated” and “not before the

       court,” and maintains that he was prejudiced by this error because the trial court

       might otherwise have considered running his murder sentence concurrently with his

       armed robbery sentences. We are unpersuaded by this argument, and hold that

       Defendant’s counsel did not perform deficiently.

¶ 43         Under the United States and North Carolina Constitutions, a defendant has a

       right to the effective assistance of counsel during both trial and sentencing

       proceedings. State v. Braswell, 312 N.C. 553, 561, 324 S.E.2d 241, 247-48 (1985). In

       order to succeed on a claim for ineffective assistance of counsel, a defendant must do

       the following:

                    First, the defendant must show that counsel’s performance
                    was deficient. This requires showing that counsel made
                    errors so serious that counsel was not functioning as the
                    “counsel” guaranteed the defendant by the Sixth
                    Amendment. Second, the defendant must show that the
                    deficient performance prejudiced the defense.            This
                    requires showing that counsel’s errors were so serious as to
                    deprive the defendant of a fair trial, a trial whose result is
                    reliable.

       Id. at 562, 324 S.E.2d at 248 (quoting Strickland v. Washington, 466 U.S. 668 (1984)).

¶ 44         The United States Supreme Court, further elaborating on the prejudice prong,

       has explained that “[t]he defendant must show that there is a reasonable probability

       that, but for counsel’s unprofessional errors, the result of the proceeding would have
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       been different.” Strickland, 466 U.S. at 694. “Because of the difficulties inherent in

       making the [prejudice] evaluation, a court must indulge a strong presumption that

       counsel’s conduct falls within the wide range of reasonable professional assistance;

       that is, the defendant must overcome the presumption that, under the circumstances,

       the challenged action ‘might be considered sound trial strategy.’” Id. at 689.

¶ 45         For the first prong of the Strickland test—deficient performance—Defendant

       argues here that his counsel acted deficiently by “[telling] the trial court repeatedly

       that the robbery convictions were unrelated and not before the court.” Instead,

       Defendant maintains that counsel should have relied on § 15A-1354(a) to persuade

       the trial court that it was authorized to resentence Defendant on all of his convictions,

       given that all of his convictions were originally “imposed. . . at the same time” within

       the meaning of the statute. We disagree.

¶ 46         When evaluating counsel’s performance, we seek to analyze whether their

       conduct “falls within the wide range of reasonable professional assistance.” State v.

       McNeill, 371 N.C. 198, 219, 813 S.E.2d 797, 813 (2018). “[C]ounsel is given wide

       latitude in matters of strategy, and the burden to show that counsel’s performance

       fell short of the required standard is a heavy one for the defendant to bear.” Id. at

       218-19, 813 S.E.2d at 812.

¶ 47         It is well-established that counsel’s failure to raise a particular argument or

       theory does not amount to deficient performance where that argument was either
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       meritless or rested on uncertain, undecided law. See Knowles v. Mirzayance, 556 U.S.

       111, 127 (2009) (“The law does not require counsel to raise every available

       nonfrivolous defense.”); United States v. Parrott, 906 F.3d 717, 719 (8th Cir. 2018)

       (“[F]ailing to raise an argument that requires the resolution of an unsettled legal

       question rarely constitutes ineffective assistance.”) (internal marks and citation

       omitted); State v. Garcell, 363 N.C. 10, 54, 678 S.E.2d 618, 646 (2009) (finding no

       deficient performance in defense counsel’s failure to raise a particular legal doctrine,

       “as . . . [the doctrine] has no application to this case . . . defendant’s counsel did not

       deficiently perform by failing to object on the basis of [the doctrine].”); State v. Fair,

       354 N.C. 131, 168, 557 S.E.2d 500, 526 (2001) (“As detailed in our previous analysis[,]

       . . . [t]here was no basis for an objection by trial counsel, and thus there was no

       ineffective assistance of counsel.”).

¶ 48         Here, the resentencing argument that Defendant contends his counsel should

       have raised was, at best, resting on unsettled law, and at worst, meritless. As

       explained above, we believe that Defendant’s request for a de novo resentencing on

       all of his convictions was meritless for several reasons, including the fact that: (1)

       the MAR order granting Defendant a limited resentencing hearing did not grant the

       trial court jurisdiction over the armed robbery sentences; and (2) our state’s Miller

       jurisprudence allows a juvenile offender to be resentenced only for his murder

       conviction (i.e., the conviction for which he received mandatory LWOP), and does not
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                                         Opinion of the Court



       automatically entitle him to be resentenced for other unrelated convictions.

¶ 49         At best, defense counsel might have been able to raise a colorable argument

       that § 15A-1354(a) somehow overrides the above-mentioned laws and grants the trial

       court authority to consider convictions that were not otherwise before it. But we can

       find no precedent supporting such an argument.           Therefore, we conclude that

       Defendant’s trial counsel did not act deficiently by failing to raise this speculative

       and untested argument.

¶ 50         As for the second prong of the Strickland test—prejudice—Defendant likewise

       cannot show that he was prejudiced by defense counsel’s failure to request that the

       trial court consider the armed robbery convictions for resentencing.           Proving

       prejudice requires a showing of “a reasonable probability” that “the result of the

       proceeding would have been different” if counsel had not erred. State v. Lane, 271

       N.C. App. 307, 312, 844 S.E.2d 32, 38 (2020) (internal marks and citation omitted).

       Here, even if defense counsel had requested that the trial court consider the armed

       robbery sentences under § 15A-1354(a), and even if the court was persuaded by this

       argument, we think it a highly remote possibility that the trial court would have

       actually chosen to run these sentences concurrently as Defendant now requests.

¶ 51         During the resentencing hearing, the trial court heard thorough arguments

       from both parties regarding a range of mitigating and aggravating circumstances

       surrounding the serious nature of Defendant’s offenses (including the fact that he
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       was the one who shot and killed Jester), his personal background and abilities, and

       his misconduct while in prison. The State recited Defendant’s long list of prison

       infractions, including weapon possession; involvement with a gang, assault on staff

       with a weapon; and active rioting. The State persuasively argued that there was no

       evidence of Defendant making any efforts to reform, and that Defendant was “not

       someone who should get the benefit of these sentences running together.”

¶ 52         Based on the evidence presented, the trial court chose not to consolidate the

       two sentences that were before it (murder and kidnapping), instead exercising its

       discretion to keep these sentences consecutive.           Given that the trial court was

       apparently unwilling to reduce Defendant’s sentence by approximately 29 months via

       consolidation of the murder and kidnapping sentences, it seems quite unlikely that

       the trial court would have chosen to reduce his sentence by approximately 190

       months via consolidation of the two armed robbery sentences. We can discern no

       reasonable probability that the results of the resentencing would have been different

       even if counsel had made the arguments requested by Defendant. Thus, because

       Defendant cannot show either deficient performance by his counsel or resulting

       prejudice, this assertion of error is overruled.

       C. Eight Amendment

¶ 53         In Defendant’s third and final assertion of error, he contends that the trial

       court violated the Eighth Amendment by sentencing him to de facto LWOP. He points
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       out that the sentences imposed by the trial court carry an aggregate minimum of 43

       years in prison before the possibility of parole—meaning he will be 61 years old before

       he becomes eligible for parole. Defendant contends that, under the United States

       Supreme Court’s decision in Miller, this sentence violates the Eighth Amendment

       prohibition against cruel and unusual punishment.

¶ 54          However, as Defendant acknowledges in his brief, neither the United States

       Supreme Court nor the North Carolina Supreme Court have yet ruled on the novel

       issue of de facto life sentences under Miller. This Court recently issued an opinion

       on this issue in State v. Kelliher, wherein we held that “de facto LWOP sentences for

       redeemable juveniles are unconstitutional,” and wherein we struck down the

       defendant’s sentence which would have made him “eligibl[e] for parole at 50 years

       and earliest possible release at age 67.” State v. Kelliher, 849 S.E.2d 333, 344-49

       (N.C. Ct. App. 2020), review allowed, writ allowed, appeal dismissed, 854 S.E.2d 584
       (N.C. 2021), review allowed, 854 S.E.2d 586 (N.C. 2021).4             Our Supreme Court

       subsequently issued a stay of this Court’s mandate in Kelliher, pending its

       discretionary review of that case. State v. Kelliher, 854 S.E.2d 586 (N.C. 2021). The



              4 This Court also issued a recent opinion in State v. Anderson which held the
       opposite—that “a 50-year sentence [for a juvenile offender] does not equate to a de facto life
       sentence,” and that such a sentence does not violate Miller. State v. Anderson, 853 S.E.2d
       797, 798 (N.C. Ct. App. 2020), writ allowed, 376 N.C. 885, 853 S.E.2d 445 (2021). Due to the
       existence of these two conflicting cases from this Court, we are confident that the Supreme
       Court will resolve this issue in the pending Kelliher appeal.
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       case is currently docketed in the Supreme Court, awaiting argument.

¶ 55         Given the pending Supreme Court cases, which will definitively decide the

       constitutionality of de facto juvenile LWOP sentences under Miller, we decline to rule

       on Defendant’s Eighth Amendment argument at this time. We therefore dismiss this

       claim without prejudice, such that it may be asserted in a subsequent MAR, in

       anticipation of our Supreme Court’s forthcoming decision in Kelliher.

                                      III.     Conclusion

¶ 56         The trial court did not abuse its discretion by maintaining Defendant’s murder

       and kidnapping sentences as consecutive, rather than concurrent. The trial court did

       not err in failing to resentence Defendant’s two armed robbery convictions, as the

       court possessed no authority to consider these convictions. Defendant did not receive

       ineffective assistance of counsel at his resentencing proceeding. Finally, though

       Defendant raises a colorable Eighth Amendment claim regarding de facto juvenile

       LWOP sentences, we decline to rule on this issue at this time and dismiss this claim

       without prejudice, in anticipation of our Supreme Court’s pending decision in

       Kelliher.

             NO ERROR.

             Chief Judge STROUD concurs.

             Judge ARROWOOD concurs in part and dissents in part by separate opinion.
        No. COA20-336 – State v. Oglesby


             ARROWOOD, Judge, concurring in part and dissenting in part.


¶ 57         I concur in the portions of the majority opinion which address defendant’s

       structured resentencing and Eighth Amendment claims. I respectfully dissent from

       the majority’s holding that defendant received effective assistance of counsel.

¶ 58         The majority correctly identifies the two-prong test set out in Strickland v.

       Washington, which requires a defendant to show that counsel’s performance was

       deficient, and that the deficient performance prejudiced the defense.         State v.

       Braswell, 312 N.C. 553, 562, 324 S.E.2d 241, 248 (1985) (quoting Strickland v.

       Washington, 466 U.S. 668, 80 L. Ed. 2d 674 (1984)). “[I]f a reviewing court can

       determine at the outset that there is no reasonable probability that in the absence of

       counsel’s alleged errors the result of the proceeding would have been different, then

       the court need not determine whether counsel’s performance was actually deficient.”

       Id. at 563, 324 S.E.2d at 249.

                                   I.     Deficient Performance

¶ 59         Our Supreme Court has held that for counsel’s performance to be deficient, it

       must fall “below an objective standard of reasonableness[.]” State v. Garcell, 363 N.C.

       10, 51, 678 S.E.2d 618, 644 (2009) (citations omitted). “This requires showing that

       counsel made errors so serious that counsel was not functioning as the ‘counsel’

       guaranteed the defendant by the Sixth Amendment.” Strickland v. Washington, 466

       U.S. 668, 687, 80 L. Ed. 2d 674, 693 (1984).

                    [S]trategic choices made after thorough investigation of
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                         ARROWOOD, J., concurring in part and dissenting in part



                    law and facts relevant to plausible options are virtually
                    unchallengeable; and strategic choices made after less than
                    complete investigation are reasonable precisely to the
                    extent that reasonable professional judgments support the
                    limitations on investigation. In other words, counsel has a
                    duty to make reasonable investigations or to make a
                    reasonable decision that makes particular investigations
                    unnecessary. In any ineffectiveness case, a particular
                    decision not to investigate must be directly assessed for
                    reasonableness in all the circumstances, applying a heavy
                    measure of deference to counsel’s judgments.

       Id. at 690-91, 80 L. Ed. 2d at 695. Our courts indulge “the presumption that trial

       counsel’s representation is within the boundaries of acceptable professional conduct.”

       State v. Campbell, 359 N.C. 644, 690, 617 S.E.2d 1, 30 (2005) (citing State v. Fisher,

       318 N.C. 512, 532, 350 S.E.2d 334, 346 (1986)).

¶ 60         Under N.C. Gen. Stat. § 15A-1354(a),

                    [w]hen multiple sentences of imprisonment are imposed on
                    a person at the same time or when a term of imprisonment
                    is imposed on a person who is already subject to an
                    undischarged term of imprisonment, including a term of
                    imprisonment in another jurisdiction, the sentences may
                    run either concurrently or consecutively, as determined by
                    the court.

       N.C. Gen. Stat. § 15A-1354(a) (2019). Although a trial court is prohibited from

       imposing a more severe sentence upon remand than originally imposed, “nothing

       prohibits the trial court from changing the way in which it consolidate[s] convictions

       during a sentencing hearing prior to remand.” State v. Moffitt, 185 N.C. App. 308,

       312, 648 S.E.2d 272, 274 (2007) (quoting State v. Ransom, 80 N.C. App. 711, 713, 343
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                          ARROWOOD, J., concurring in part and dissenting in part



       S.E.2d 232, 234, cert. denied, 317 N.C. 712, 347 S.E.2d 450 (1986)). The trial court

       has discretion to determine whether to impose concurrent or consecutive sentences.

       State v. Parker, 350 N.C. 411, 441, 516 S.E.2d 106, 126 (1999).

¶ 61            At the resentencing hearing, defendant’s trial counsel repeatedly described

       defendant’s robbery sentences, one of which defendant had served and the other

       which was either already or nearly complete, as unrelated and not before the trial

       court.     Defendant’s trial counsel maintained this position when the trial court

       specifically requested clarification that there were “two consecutive armed robbery

       sentences that the defendant has already served[,]” and defendant’s trial counsel

       failed to raise any argument regarding those convictions when the trial court

       discussed its authority under Section 15A-1340.19B.

¶ 62            Although I acknowledge the deference afforded to counsel’s judgments, I

       disagree with the majority’s holding that the resentencing argument defendant

       contends his trial counsel should have raised was either resting on unsettled law or

       totally meritless.     Defendant was originally sentenced to multiple terms of

       imprisonment at the same time, and thus the trial court could either run the

       sentences concurrently or consecutively under Section 15A-1354(a).           Nothing

       prohibited the trial court from changing the way in which all of defendant’s

       convictions were consolidated, including the two convictions for robbery with a

       firearm.     I disagree with the majority’s position that Section 15A-1354(a) must
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                         ARROWOOD, J., concurring in part and dissenting in part



       “override” the MAR order and our state’s Miller jurisprudence. The plain meaning of

       the statute includes defendant, as a person with “multiple sentences of

       imprisonment” imposed “at the same time,” and as such I would hold that Section

       15A-1354(a) is applicable to defendant’s sentences and that the trial court had

       jurisdiction and discretion to consider running all sentences either concurrently or

       consecutively.    Defendant’s trial counsel’s insistence that the armed robbery

       convictions were not before the court, when in fact it was in the trial court’s discretion

       to consider them, was unreasonable and constitutes deficient performance.

                                           II.    Prejudice

¶ 63         Prejudice under the ineffective assistance of counsel test requires a showing of

       “reasonable probability” that, “but for counsel’s unprofessional errors, the result of

       the proceeding would have been different.” State v. Lane, 271 N.C. App. 307, 313,

       844 S.E.2d 32, 39, review dismissed, 376 N.C. 540, 851 S.E.2d 367, review denied, 376

       N.C. 540, 851 S.E.2d 624 (2020) (emphasis in original) (citing Strickland, 466 U.S. at

       694, 80 L. Ed. 2d at 698). “A reasonable probability is a probability sufficient to

       undermine confidence in the outcome.” Id. (citation omitted). Under the reasonable

       probability standard, “a defendant need not show that counsel’s deficient conduct

       more likely than not altered the outcome in the case.” Strickland, 466 U.S. at 693,

       80 L. Ed. 2d at 697.      “While under the reasonable probability standard ‘[t]he

       likelihood of a different result must be substantial, not just conceivable[,]’, it is
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                           ARROWOOD, J., concurring in part and dissenting in part



       something less than that required under plain error.” Lane, 271 N.C. App. at 314,

       844 S.E.2d at 39 (quoting Harrington v. Richter, 562 U.S. 86, 112, 178 L. Ed. 2d 624,

       647 (2011)).

¶ 64          Here, I would hold that there was a reasonable probability that but for

       defendant’s trial counsel’s arguments, the result of the hearing would have been

       different.     The trial court asked defendant’s trial counsel multiple times for

       clarification of the sentences and convictions before it, and at no point did defendant’s

       trial counsel attempt to seek resentencing for all of defendant’s convictions. It is

       substantially likely, not just conceivable, that the trial court would have exercised its

       discretion to consider all of defendant’s convictions in resentencing had defendant’s

       trial counsel presented the argument. Accordingly, I would hold that defendant was

       prejudiced by his trial counsel’s errors and would remand for resentencing to consider

       all of defendant’s convictions, rather than only the murder and kidnapping

       convictions.
